          Case 1:21-cr-00070-ABJ Document 46 Filed 07/05/22 Page 1 of 2




                          UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )

               v.                              )       CR. NO. 21-70 (ABJ)

SAMUEL CAMARGO                                 )


                           UNOPPOSED MOTION TO CONTINUE

       Samuel Camargo, through undersigned counsel, respectfully moves this Honorable Court

to continue the July 7th 11 a.m. hearing to (1) July 7th at 2 p.m.; (2) July 21st at 11 a.m. or 12

p.m.; or (3) mid-August 2022. Undersigned counsel has a matter scheduled for trial on July 25th

and the joint pretrial conference and suppression hearing for that matter needs to be moved to

July 7th at 11 am. The government does not oppose this motion.

       The parties agree that the exclusion of time under the Speedy Trial Act is warranted until

the next hearing date.



                                               Respectfully Submitted,

                                               A.J. KRAMER
                                               FEDERAL PUBLIC DEFENDER
                                               ____/s/________________
                                               UBONG E. AKPAN
                                               Assistant Federal Public Defender
                                               625 Indiana Ave., N.W.
                                               Washington, D.C. 20004
                                               (202) 208-7500
         Case 1:21-cr-00070-ABJ Document 46 Filed 07/05/22 Page 2 of 2




                                CERTIFICATE OF SERVICE


       I, Ubong E. Akpan, certify that on this 5th day of July 2022, I caused a copy of the

foregoing Unopposed Motion to be filed through the Electronic Case Filing (“ECF”) system and

served a copy on counsel for the government through the ECF.

                                                        /s/_________________
                                             UBONG E. AKPAN
                                             Assistant Federal Public Defender
